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Microsoft Corporation

UN|TED STATES DlSTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO D1V1S1ON
ALACR|TECH, INC., ) Case N0.1C04 03284 JSW
)
Plaintiff/Counterclaim Defendant, ) STIPULATION OF DISMISSAL
) WITH PREJUDICE
)
v. )
)
MICROSOFT CORPORAT1ON, )
) The Honorable Jeffrey S. White
Defendant//Counterclaimant. )
)

 

 

 

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WITH PREJUDICE

Case No. C04 03284 JSW

 

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Plaintiff/Counterclaim Defendant Alacritech, lnc. (Alacritech) and
Det`endantjCounterclaimant Microsoft Corporation (Microsoi°t) having entered into a
confidential Settlement Agreement and a confidential L.icense Agreement, hereby jointly
Stipulate and seek an Order that:

1. All claims asserted in this action by Alacritech against Microsoit, and all
counterclaims asserted by Microsoft against Alacritech, are hereby dismissed with prejudice.

2. Each party shall bear its own costs, expenses and attomeys’ fees.

SO STIPULATED BY THE PARTIES.

.]une 29, 2005 By: !sf Mark A. Lauer
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PURSUANT T() STIPULATION, IT IS S() ORDERED.

Dated: JU|! 1, 2005 /S/ Jeffrey S. White
Jeft`rey S. White
United States District Judge

STIPULATION OF DISM[SSAL 2 Case No. C04 03284 JSW
WITH PREJUD]CE

 

